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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )                  8:13CR317
                         Plaintiff,                )
                                                   )
       vs.                                         )                   ORDER
                                                   )
LOWELL ELDON FANNING,                              )
ROCKY FRY, and                                     )
OTTO R. ROWELL,                                    )
                                                   )
                         Defendants.               )

       This matter is before the court on the motion for an extension of time by defendant Otto R.
Rowell (Rowell) (Filing No. 27). Rowell seeks an extension of thirty days in which to file pretrial
motions in accordance with the progression order (Filing No. 24). Rowell has filed an affidavit
wherein he consents to the motion and acknowledges he understand the additional time may be
excludable time for the purposes of the Speedy Trial Act (Filing No. 28). It is represented that
government's counsel has no objection to the motion. Upon consideration, the motion will be
granted, and the pretrial motion deadline will be extended as to all defendants.


       IT IS ORDERED:
       Defendant Rowell's motion for an extension of time (Filing No. 27) is granted.              All
defendants are given until on or before October 24, 2013, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendants in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between September 12, 2013, and October
24, 2013, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act for the reason defendants' counsel require additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(7)(A) & (B).


       DATED this 12th day of September, 2013.
                                                       BY THE COURT:

                                                       s/ Thomas D. Thalken
                                                       United States Magistrate Judge
